Case 2:14-cv-01011-JTM-MBN Document9 Filed 06/04/14 Page 1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

FREDERICK L. SMITH, ET AL
Plaintiffs CIVIL ACTION

VERSUS NUMBER 14-1011 H (5)

DIAMOND SERVICES CORPORATION,
ET AL

Defendants

ORDER

CONSIDERING THE FOREGOING:

IT IS ORDERED that this action be dismissed as to defendant,
McDermott International, Inc., only, with prejudice, and at
plaintiff’s cost.

New Orleans, Louisiana, this 4th day of June, 2014.

wm

Teg,

UNITED STATES DISTRICT COURT

